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                                             14                              UNITED STATES DISTRICT COURT
                                             15                             CENTRAL DISTRICT OF CALIFORNIA
                                             16                               WESTERN DIVISION – Los Angeles
                                             17
                                             18 YUGA LABS, INC.,                                 Case No.: 2:22-cv-04355-JFW-JEM
                                             19                       Plaintiff and              DISCOVERY MATTER
                                                                      Counterclaim Defendant,
                                             20                                                  PLAINTIFF YUGA LABS, INC.’S
                                                          v.                                     EX PARTE APPLICATION FOR A
                                             21                                                  PROTECTIVE ORDER
                                                  RYDER RIPPS, JEREMY CAHEN,                     REGARDING APEX
                                             22                                                  DEPOSITIONS
                                                                      Defendants and
                                             23                       Counterclaim Plaintiffs.   Magistrate Judge:
                                                                                                 Honorable John E. McDermott
                                             24
                                             25
                                             26           Pursuant to Local Rule 7-19 and Federal Rule of Civil Procedure 26(c),
                                             27 Plaintiff Yuga Labs, Inc. (“Yuga Labs”) respectfully moves this Court for a
                                             28 protective order regarding Defendants Ryder Ripps’ and Jeremy Cahen’s attempts to

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                                              1 depose Yuga Labs’ apex employees Wylie Aronow and Greg Solano prior to
                                              2 Defendants taking Yuga Labs’ Fed. R. Civ. P. 30(b)(6) deposition and before
                                              3 showing good cause for deposing these apex witnesses.
                                              4           Pursuant to Local Rule 7-19, the name, address, telephone number, and email
                                              5 address for the Defendants’ counsel is:
                                              6                          Louis Tompros
                                              7                          Wilmer Cutler Pickering Hale and Dorr LLP
                                                                         60 State Street
                                              8                          Boston, MA 02109
                                              9                          Telephone: (617) 526-6886
                                                                         Email: louis.tompros@wilmerhale.com
                                             10
                                             11 I.        BACKGROUND
                                             12           While considered a startup, Yuga Labs is an international company doing
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                                             13 business in seven countries and protecting its intellectual property with trademark
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                                             14 filings in 120 countries.           Declaration of Eric Ball (“Ball Decl.”) ¶ 2.      It has
                                             15 128 employees worldwide and works directly with at least another 60 persons or
                                             16 companies on various projects all over the world. Id. Yuga Labs operates six brands,
                                             17 including the brand at issue in this litigation (the “Bored Ape Yacht Club”). Id.
                                             18           Wylie Aronow and Greg Solano are co-founders of Yuga Labs and have been
                                             19 Co-Presidents and members of the Board of Directors (the “Board”) since February
                                             20 2022. Id. ¶ 3. As Co-Presidents, they are responsible for (subject to the control of
                                             21 the Board) the overall direction of the business; international partnerships; acting as
                                             22 general managers of Yuga Labs; exercising general supervision of the business,
                                             23 affairs and brands of Yuga Labs; presiding at all meetings of the stockholders; and
                                             24 having general charge of the property, agents and employees of Yuga Labs. Id.
                                             25 While they are responsible for general management of the business, they are not
                                             26 responsible for trademark filings or takedowns on the basis of trademark
                                             27 infringement. Id.
                                             28

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                                              1           On December 5, 2022, Yuga Labs served deposition notices for Defendants
                                              2 Jeremy Cahen and Ryder Ripps, which are now confirmed for January 11 and January
                                              3 12, 2023, respectively. Id. ¶¶ 4–6. Mr. Cahen’s deposition was re-noticed from
                                              4 January 10 to 11 to accommodate his schedule. On December 9, 2022, Defendants
                                              5 served Yuga Labs with a Fed. R. Civ. P. 30(b)(6) notice of deposition. That
                                              6 deposition is now confirmed for January 24, 2023. Id. at ¶ 7.
                                              7           On December 15, 2022, Defendants served deposition notices for Mr. Aronow
                                              8 and Mr. Solano, for January 9 and January 11, 2023, respectively. Id. at ¶¶ 8–9.
                                              9 Defendants know that Mr. Aronow and Mr. Solano are Yuga Labs’ co-founders,
                                             10 having identified both individuals as “co-founder[s]” of Yuga Labs in their initial
                                             11 disclosures and throughout their submissions in this litigation. See id. Exhibit 7
                                             12 (Defendants’ Initial Disclosures). Though Defendants served the 30(b)(6) deposition
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                                             13 notice before the individual deposition notices, Defendants still noticed these
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                                             14 individual depositions for dates preceding the 30(b)(6) deposition of Yuga Labs itself
                                             15 and for dates that either precede or overlap with the depositions of Defendants. In
                                             16 addition to being apex witnesses, Mr. Aronow and Mr. Solano are not available for
                                             17 deposition on the dates and location noticed by Defendants; however, Defendants
                                             18 insist that Mr. Aronow and Mr. Solano appear on the noticed dates or else they intend
                                             19 to seek sanctions against Yuga Labs and the witnesses. Id. Exhibit 8. No party
                                             20 depositions have been taken in this litigation to date.
                                             21           Defendants also, admittedly, do not seek these depositions to discover any
                                             22 facts related to their defense of the trademark infringement claims.            Instead,
                                             23 Defendants seek to depose Mr. Solano and Mr. Aronow regarding “BAYC NFTS,
                                             24 First Amendment activity, Nazi/Racist messaging and imagery.” Id. Exhibit 7
                                             25 (Defendants’ Initial Disclosures).
                                             26           On December 19, 2022, counsel for Yuga Labs informed Defendants that these
                                             27 apex depositions were improper and provided case law establishing that “Defendants
                                             28 must first take Yuga Labs’ 30(b)(6) deposition, confer with Yuga Labs on the

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                                              1 necessity and scope of apex depositions, and demonstrate that there are no non-apex
                                              2 witnesses from whom Defendants could obtain necessary information they still
                                              3 seek.” Id. Exhibit 8. The parties have since corresponded in depth on this issue.
                                              4 Though Defendants have been unable to provide any authority in correspondence
                                              5 with Yuga Labs in support of their position that it is not their burden to show that
                                              6 they have exhausted less intrusive means of discovery before taking these apex
                                              7 depositions, they have insisted that they would not reschedule these depositions to a
                                              8 procedurally proper time and have threatened to “be there at the noticed time and
                                              9 location” and “make the appropriate record and pursue all available remedies against
                                             10 Mr. Aronow, Mr. Solano, and Yuga [Labs].” Id.
                                             11           On December 28, 2022, Defendants filed their Joint Stipulation with the Court
                                             12 seeking an order that Yuga Labs meet and confer with them regarding these
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                                             13 depositions. Joint Stipulation (ECF No. 69-1). As Yuga Labs articulated in its
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                                             14 response, Defendants’ motion to compel on the issue was procedurally improper
                                             15 because they had never served a Local Rule 37-1 letter on the issue. But, in any
                                             16 event, Yuga Labs has repeatedly confirmed it will meet and confer about the
                                             17 propriety of these depositions after the 30(b)(6) deposition of Yuga Labs.
                                             18           On December 30, 2022, Yuga Labs again articulated its position that the meet
                                             19 and confer should proceed after the deposition of Yuga Labs, but if Defendants
                                             20 wanted to have the meet and confer sooner, they should have served a Local Rule
                                             21 37-1 letter setting forth their legal position as to why these apex employees must sit
                                             22 for a deposition before Yuga Labs. Ball Decl. Exhibit 8. Defendants still have not
                                             23 served a Local Rule 37-1 letter on this issue. Yuga Labs also informed Defendants
                                             24 that, in any event, both Mr. Aronow and Mr. Solano had a schedule conflict during
                                             25 the week of the noticed depositions. Id. Yuga Labs also reminded Defendants that
                                             26 they already brought this issue to the Court, and so it believed motion practice on a
                                             27 protective order would be inefficient and premature in light of the pending motion.
                                             28 Id. Defendants refused to reschedule and wait for the Court’s order on Defendants’

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                                              1 pending motion, stating that they would oppose any motion to prevent or postpone
                                              2 the depositions. Id. Defendants have persisted in this course despite (until yesterday)
                                              3 simultaneously proposing a stay of all proceedings.
                                              4           Lead Counsel for the parties met and conferred on January 4, 2023, and
                                              5 counsel for Defendants confirmed that Defendants would oppose this application for
                                              6 a protective order. Ball Decl. ¶ 16.
                                              7 II.       STATEMENT OF GOOD CAUSE
                                              8           Local Rule 7-19 permits applications for ex parte orders, and Local Rule 37-3
                                              9 allows for ex parte discovery motions where the moving party will suffer “irreparable
                                             10 injury or prejudice not attributable to the lack of diligence of the moving party” or at
                                             11 the discretion of the Court. Such injury and prejudice are established here where
                                             12 Defendants improperly seek to depose Yuga Labs’ apex witnesses without first
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                                             13 taking Yuga Labs’ deposition and without showing good cause for deposing these
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                                             14 high-level employees, or without even waiting for an order from the Court on their
                                             15 own motion on this very issue. “Virtually every court that has addressed deposition
                                             16 notices directed at an official at the highest level or ‘apex’ of corporate management
                                             17 has observed that such discovery creates a tremendous potential for abuse or
                                             18 harassment.” Groupion, LLC v. Groupon, Inc., No. 11-0870 MEJ, 2012 WL 359699,
                                             19 at *2 (N.D. Cal. Feb. 2, 2012). Once done, Yuga Labs cannot undo any abuse,
                                             20 harassment, or distraction from business operations that would occur from an
                                             21 improper, premature apex deposition. Yuga Labs has diligently attempted to resolve
                                             22 this concern with Defendants’ counsel by seeking their justification for proceeding
                                             23 out of turn with these depositions, but an impasse in those discussions and
                                             24 Defendants’ insistence and threat of sanctions, notwithstanding their pending motion,
                                             25 has necessitated this application.
                                             26           Yuga Labs’ position has been that Defendants bear the burden to move for an
                                             27 order compelling these out-of-order apex depositions, but out of abundance of
                                             28 caution and in light of Defendants’ threat to move for sanctions, Yuga Labs moves

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                                              1 for this protective order. The procedural requirements of Local Rule 37 do not allow
                                              2 for an ordinary discovery motion to be filed in time to avoid the irreparable injury
                                              3 and prejudice that would result from these improper apex depositions, thus this
                                              4 application for an ex parte order is the only remedy available.
                                              5           Counsel for Yuga Labs conferred by video with counsel for Defendants on
                                              6 January 4, 2023. Defendants are aware of and oppose this application. Ball Decl.
                                              7 ¶ 16.
                                              8 III.      ARGUMENT
                                              9           Under Fed. R. Civ. P. 26(c), courts may “issue an order to protect a party or
                                             10 person from annoyance, embarrassment, oppression, or undue burden or expense.”
                                             11 “[F]or depositions of high-ranking executives or officials – so-called ‘apex’
                                             12 witnesses – the burden is placed on the party seeking the deposition to show
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                                             13 extraordinary circumstances justify the deposition. This rule arises out of the
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                                             14 ‘tremendous potential for abuse or harassment’ inherent in such a deposition.” Greer
                                             15 v. Cnty. of San Diego, No. 19-CV-378-JO-DEB, 2022 WL 2134601, at *1 (S.D. Cal.
                                             16 June 14, 2022) (citation omitted); Pilot, Inc. v. Cub Elecparts, Inc., No. CV 14-9647-
                                             17 GW-PLAx, 2015 WL 13918235, at *2 (C.D. Cal. Dec. 7, 2015) (same). “The apex
                                             18 doctrine exists to protect officials from: (1) discovery that burdens the performance
                                             19 of their duties (especially given the frequency such officials are typically named in
                                             20 lawsuits); and (2) unwarranted inquiries into their decision-making process.” Greer
                                             21 v. Cnty. of San Diego, 2022 WL 2134601, at *1; Pilot, Inc. v. Cub Elecparts, Inc.,
                                             22 2015 WL 13918235, at *2 (granting protective order where the party seeking to
                                             23 depose apex witness had not “shown that it has exhausted other less intrusive
                                             24 discovery methods, such as noticing any other depositions, prior to attempting to
                                             25 depose” the apex witness). A party seeking apex depositions should therefore “first
                                             26 attempt to obtain the sought information through the less burdensome means of
                                             27 discovery . . ., including the Rule 30(b)(6) corporate deposition.” Gauthier v. Union
                                             28 Pac. R. Co., No. CIVA1:07CV12(TH/KFG), 2008 WL 2467016, at *4 (E.D. Tex.

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                                              1 June 18, 2008); see also Anderson v. Cnty. of Contra Costa, No. 15-CV-01673-RS
                                              2 (MEJ), 2017 WL 930315, at *4 (N.D. Cal. Mar. 9, 2017) (party ordered to “first
                                              3 depose a Rule 30(b)(6) witness . . ., then meet and confer . . . about the necessity and
                                              4 scope of [the apex witness’s] deposition.”). The doctrine applies even where the
                                              5 witness formerly held an “apex” position in the company. K.C.R. v. Cnty. of
                                              6 Los Angeles, No. CV 13-3806 PSG-SSX, 2014 WL 3434257, at *3 (C.D. Cal.
                                              7 July 11, 2014) (“Executives and high-ranking officials continue to be protected by
                                              8 the apex doctrine even after leaving office.”).
                                              9           Defendants have not disputed, and do not appear now to dispute, any of this in
                                             10 their correspondence with Yuga Labs on this issue. Instead, they seek to avoid these
                                             11 well-established rules by arguing that (1) Mr. Aronow and Mr. Solano are not apex
                                             12 employees and (2) the case law on apex depositions does not apply to Yuga Labs due
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                                             13 to the company’s size. Each argument is flawed.
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                                             14           Mr. Aronow and Mr. Solano are co-founders and Co-Presidents of Yuga Labs,
                                             15 a business with international operations. Ball Decl. ¶ 2. For example, during the
                                             16 week of January 9 (when Defendants have noticed their depositions) Mr. Solano is
                                             17 meeting with international business partners traveling to meet with them from Hong
                                             18 Kong. Additionally, Mr. Aronow has a pre-existing medical appointment in South
                                             19 Carolina. It is burdensome and harassing to require Yuga Labs’ co-founders and
                                             20 Co-Presidents to testify before Yuga Labs itself when those individuals are otherwise
                                             21 running a muti-national business. Moreover, Defendants have made no argument
                                             22 that either individual has information that a corporate representative of Yuga Labs
                                             23 would lack. Under the facts of this case, Defendants cannot make that showing
                                             24 before they have taken Yuga Labs’ deposition.
                                             25           There is no size requirement for a company to invoke appropriate protections
                                             26 against improper apex depositions. Regardless, Defendants have incorrectly stated
                                             27 that Yuga Labs is a company of eleven employees. Yuga Labs currently employs
                                             28

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                                              1 128 individuals worldwide. Ball Decl. ¶ 2. Its two co-Presidents are exactly the type
                                              2 of witnesses who satisfy the definition of an “apex” witness.
                                              3           The concerns about improper apex depositions are heightened here where
                                              4 Defendants’ motivation for deposing Mr. Aronow and Mr. Solano before attempting
                                              5 to obtain useful testimony through a deposition of the company is suspect at best.
                                              6 For instance, Defendant Cahen publicly admits that the goal of the deposition is to
                                              7 force the witnesses to answer questions about whether Yuga Labs is a “racist and
                                              8 Nazi Ponzi scheme.” Id. Exhibit 12. Since Defendants served their deposition
                                              9 notices, Defendant Cahen has posted content affirming the intent to harass
                                             10 Mr. Aronow and Mr. Solano, including an image of Mr. Aronow – who is Jewish –
                                             11 with a swastika overlaid on his arm and the caption “It’s deposition szn bitch. Get
                                                       1
                                             12 ready.” Id. Exhibit 13. Further, Defendants admit that they only intend to ask
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                                             13 Mr. Aronow and Mr. Solano about “BAYC NFTS, First Amendment activity,
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                                             14 Nazi/Racist messaging and imagery.” Id. Exhibit 7 (Defendants’ Initial Disclosures).
                                             15 Clearly, Defendants do not seek to depose Mr. Aronow and Mr. Solano regarding
                                             16 Yuga Labs’ trademarks in this trademark infringement case.                   Therefore, the
                                             17 harassment to Yuga Labs in producing these witnesses before its corporate
                                             18 representative testifies is compounded by the fact that Defendants openly seek to
                                             19 personally harass the witnesses.
                                             20           Further, the intent of these depositions is to harass the witnesses with questions
                                             21 about material that the Court has already concluded is not relevant to Yuga Labs’
                                             22 claims. After considering Defendants’ evidence (two declarations and 36 exhibits),
                                             23
                                                  1
                                             24     To the extent that Defendants now claim that they require these depositions to seek
                                                  discovery into their newly filed counterclaims, those claims are frivolous and subject
                                             25   to Yuga Labs’ motion to dismiss which will be filed this month. It is also
                                             26   inappropriate to permit depositions on those counterclaims to proceed before
                                                  depositions relevant to Defendants’ trademark infringement, especially in light of
                                             27   Defendants’ attempts to strategically time the depositions to precede and overlap with
                                             28   depositions noticed by Yuga Labs before Defendants noticed any depositions.

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                                              1 Judge Walter concluded that Defendants have not made a prima facie case that Yuga
                                                                                                 2
                                              2 Labs’ claims arise out of “Inflammatory Material” : “the Court concludes that
                                              3 Plaintiff’s claims do not arise out of Defendants’ attempts to publicize and criticize
                                              4 Plaintiff’s purported use of racist, neo-Nazi, or alt-right dog whistles.” Dec. 16, 2022
                                              5 Order (ECF No. 62) at 11. Defendants nonetheless persist in their attempts to abuse
                                              6 the discovery process to continue to harass Yuga Labs, Mr. Aronow, and Mr. Solano
                                              7 about their false claims of Inflammatory Material. At minimum, Defendants should
                                              8 be required to show that they have been unable to obtain the information they require
                                              9 for their defense to Yuga Labs’ claims of trademark infringement through a 30(b)(6)
                                             10 deposition of Yuga Labs and other, less-intrusive means of discovery.
                                             11 IV.       CONCLUSION
                                             12           Yuga Labs respectfully requests that the Court grant Yuga Labs’ Ex Parte
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                                             13 application for a protective order preventing Defendants from taking the depositions
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                                             14 of Wylie Aronow and Greg Solano and ordering Defendants not to serve further
                                             15 notices of depositions of either individual until taking Yuga Labs’ deposition and
                                             16 lead counsel meeting and conferring via video conference to determine the extent to
                                             17 which such depositions remain necessary, if at all.
                                             18
                                             19 Dated: January 5, 2023                           FENWICK & WEST LLP
                                             20
                                             21                                            By: /s/ Eric Ball
                                             22                                                Eric Ball

                                             23                                                  Attorneys for Plaintiff
                                                                                                 YUGA LABS, INC.
                                             24
                                             25   2
                                                  Defendants define “Inflammatory Material” as “any content that that [sic] is racist,
                                             26 fascist, neo-Nazi, alt-right, hate speech, discriminatory, or otherwise
                                                racially/ethnically prejudicial, including but not limited to content that appears to be
                                             27 or can be understood to be racist, fascist, neo-Nazi, alt-right, hate speech,
                                             28 discriminatory, or otherwise racially/ethnically prejudicial.” See ECF No. 69-4.

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